

People v Tugwell (2022 NY Slip Op 06442)





People v Tugwell


2022 NY Slip Op 06442


Decided on November 15, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 15, 2022

Before: Manzanet-Daniels, J.P., Webber, Mazzarelli, Friedman, Shulman, JJ. 


Ind. No. 2324/15 Appeal No. 16662 Case No. 2019-1875 

[*1]The People of the State of New York, Respondent,
vLeon Tugwell, Defendant-Appellant.


Justine M. Luongo, The Legal Aid Society, New York (Lawrence T. Hausman of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Lori Ann Farrington of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about January 25, 2019, which adjudicated defendant a level two sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion when it declined to grant a downward departure (see People v Gillotti, 23 NY3d 841 [2014]). There is no basis for a downward departure, given the seriousness of the underlying conduct, committed against a child. Defendant has not shown that his deportation to Jamaica would result in such a reduced risk to public safety as to warrant a downward departure (see e.g. People v Guaman, 136 AD3d 605 [1st Dept 2016], lv denied 27 NY3d 905 [2016]; People v Zepeda, 124 AD3d 417 [1st Dept 2015], lv denied 25 NY3d 902 [2015]). The other alleged mitigating factors do not warrant a departure. There was nothing exceptional about defendant's routine completion of sex offender and alcohol abuse treatment programs. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 15, 2022








